VIRGIN I A:

                 IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND


MANDY ANNE TRUMAN,

                              Plaintiff,
                                                        Case No. CL20-3265-7
v.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

                              Defendant.


         STATE FARM'S FIRST SET OF INTERROGATORIES TO PLAINTIFF

       Defendant State Farm Mutual Automobile Insurance Company ("State Farm"), pursuant

to Rules 4:1 and 4:8 of Rules of the Supreme Court of Virginia, propounds the following

Interrogatories upon Plaintiff MANDY ANNE TRUMAN, to be answered under oath within

twenty-one (21) days of service hereof, in the manner prescribed by said Rules.

                           DEFINITIONS AND INSTRUCTIONS

       a.      These Interrogatories are continuing in nature, so as to require you to file

Supplementary Answers if you obtain additional or different information before trial.

       b.      Where the name or identity of an individual is requested, indicate the full name

and home and business address of such person. When the name of a corporation, partnership or

other business entity is requested, indicate its full name, the address of its principal place of

business, and the name and position of the individual with knowledge of the requested matter.

       c.     Unless otherwise indicated, these Interrogatories refer to the time, place, and

circumstances of the events mentioned or complained of in the Complaint.




                                                                                   EXHIBIT 3
           d.       Where information or knowledge in possession of a party is requested, such

request includes knowledge of the party's agent, next friend, guardian, representatives and,

unless privileged, his or her attomey(s).

           e.       The pronouns "you" and "your" refer to the party to whom these Interrogatories

are addressed and the person(s) mentioned in clause (d).

           f.       "State Farm" shall mean Defendant State Farm Mutual Automobile Insurance

Company.

           g.       "Health care provider" includes every physician, doctor, health care practitioner,

dentist,        osteopath,   chiropractor,    psychologist,   psychiatrist,   counselor,   physical   or

psychotherapist, rehabilitationist, hospital, clinic, emergency room or center, out-patient clinic,

testing or x-ray facility, and any and all other practitioners of the healing arts.

           h.       "Describe" or "description" means to give a full and complete narrative of every

fact or thing requested.



                                             INTERROGATORIES

           1.       ldenti fy the name, present residence and business address(es), social security

number, date of birth, and telephone number(s) of the person(s) answering I responding to these

Interrogatories, including any person(s) assisting with any of the answers I responses.

           ANSWER:




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       2.      Describe in detail and state the basis for the total amount of damages, expenses,

fees and costs you are claiming against State Farm Mutual Automobile Insurance Company,

including the manner and method by which these damages were calculated, identifying in your

Answer all persons with knowledge of same and all documents or records relating to same,

including the identity of the custodian of the documents or records. Please include in your

response a detailed, itemized statement, giving amounts, names and addresses of all health care

providers, employers, etc., in each instance, of all special damages, financial losses, fees and/or

expenses, including lost wages, claimed by you.

       ANSWER:




       3.      Describe in detail and state the basis for each and every injury, whether physical,

mental, emotional, occupational, or otherwise, including any present complaints, residual effects,

and any alleged permanent injuries or disabilities, which you claim to have sustained and expect

to prove at the trial of this action as damages, identifying in your Answer all persons with

knowledge of each such injury and all documents or records relating to each such injury,

including the identity of the custodian of the documents or records. If any such person is an

expert witness or a health care provider, please state the subject matter on which the expert or

health care provider is expected to testify at trial and give a complete description of the substance

of the facts and opinions to which the expert or health care provider is expected to testify,

providing a detailed summary of the grounds for each such opinion.

       ANSWER:




                                                  3
       4.      Identify any and all entities/companies providing health insurance benefits to you

and to which claims have been made for any and all treatment(s) you allege to have received as

result of the injury(ies) complained of in the Complaint, including in your answer the name and

address of each such entity/company, the policy holder, and the policy number.

       ANSWER:




       5.      State the names and addresses of all health care providers who have examined,

treated or admitted you as a result of the injury(ies) complained of in the Complaint, describing

in detail for each such provider the subject matter and basis for each such examination, treatment

and/or admission.

       ANSWER:




       6.      Describe in detail, if applicable, any preexisting I previous injury or limitation,

similar condition and/or any aching, pain or discomfort in any of the parts of the anatomy

allegedly injured as a result of the incident complained of in the Complaint, identifying in your

Answer all persons with knowledge of same and all documents or records relating to same,

including the identity of the custodian of the documents or records.

       ANSWER:




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       7.      Further responding to the foregoing Interrogatory, if you contend that a previous

injury, disease or condition has been aggravated and/or accelerated as a result of the accident

complained of in the Complaint, please describe in detail all facts which support such contention,

including a detailed description of the nature and extent to which such injury, disease or

condition has been so aggravated and/or accelerated, and identifying in your Answer all persons

with knowledge of these facts and all documents or records relating to these facts, including the

identity of the custodian of the documents or records.

       ANSWER:




       8.      Please describe in detail any and all medical conditions you have had, and list the

names and addresses of all health care providers who have seen or treated you for any purpose

whatsoever, during the ten (1 0) year period preceding the filing of your Answers to these

Interrogatories, describing the diagnosis and/or the purpose of each such condition I treatment I

health care provider.

       ANSWER:




       9.      For each and every medical expense and/or bill which you claim is covered and/or

for which you seek payment under the subject State Farm insurance policy, please indentify and

describe the amount "incurred" (as defined by Va. Code § 38.2-2201(A)(3)) for each such

medical expense and/or bill.

       ANSWER:



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       10.     Identify all persons who have knowledge of any fact or circumstance relating in

any way to the claims and/or defenses asserted in this action, describing in detail for each such

person the subject matter and substance of his I her knowledge.

       ANSWER:




       11.     If you or anyone else to your knowledge has heard any statements made by an

agent, representative or employee of State Farm, or by any person identified in your Answers to

the preceding Interrogatories, relating in any way to the claims or defenses asserted in this

action, then as to each such statement please identify the person(s) who made the statement(s),

the date and location where the statement was made, the person(s) who heard the statement(s),

and describe the substance and subject matter of each such statement(s).

       ANSWER:




       12.     If you or anyone acting on your behalf knows of any transcripts, tapes, writings or

other tangible record of any statement made by an agent, representative or employee of State

Farm, or by any person identified in your Answers to the preceding Interrogatories, relating in

any way to the claim(s) or defense(s) asserted in this action, please identify each such transcript,

tape, writing or other tangible record and the name, address and telephone number of its

custodian, or produce the record instead.

       ANSWER:




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        13.    Please identify all persons (including all treating health care providers) who the

Plaintiff expects to call as an expert witness to testify at any deposition, hearing or trial in this

case and sor each such person, please identify, state and describe the name, address, occupation,

and area of expertise of each such expert; the subject matter and substance of all facts to which

each such expert is expected to testify; all opinions held by each such expert, and the grounds

and basis for each such opinion.

       ANSWER:




        14.    If you have made any claims seeking compensation or damages for personal

injury against any person I entity, or have made any claim for workers' compensation, then state

the name, address and telephone number of the persons I entities involved, the date of each such

accident, the applicable insurance carriers and the insurance claim numbers.

       ANSWER:




        15.    If you have been or are a party to any other lawsuit, please state the style of each

action, the date on which each action was filed, the court in which each was filed, and the

disposition thereof.

       ANSWER:




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                            STATE FARM MUTUAL AUTOMOBILE INSURANCE CO.


                            By      /s/    ~dJ!if
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                                    E-mail: adewitt@freebom.com


                              CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of August, 2020, a true copy of the foregoing

INTERROGATORIES was delivered by e-mail and by first-class U.S. mail, postage prepaid, to

Bryn Swartz, Esq., Pathfinder Injury Law, 3016 Mountain Road, Suite C, Glen Allen, VA 23060,

Email: bswartz@pathfinderlaw.com.




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VIRGIN I A:

                  IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND


MANDY ANNE TRUMAN,

                                Plaintiff,
                                                        Case No. CL20-3265-7
v.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

                                Defendant.


                      STATE FARM'S FIRST REQUEST FOR
              PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFF

        Defendant State Fann Mutual Automobile Insurance Company ("State Farm"), pursuant

to Rules 4:1 and 4:9 of Rules of the Supreme Court of Virginia, requests Plaintiff MANDY

ANNE TRUMAN to produce the following documents and things for inspection and/or copying

at the offices of FREEBORN & PETERS, LLP, 901 East Byrd Street, Suite 950, Richmond, VA

23219, within twenty-one (21) days from the service of this Request:

        (1)     All documents and things that relate or refer to any losses, damages, expenses

and/or injuries claimed to have been sustained by you, as alleged in the Complaint.

        (2)     All documents and things that you identified in any of your responses to the

Interrogatories served contemporaneously herewith.

        (3)     All documents and things that you used in any way to provide responses to the

Interrogatories served contemporaneously herewith.

        (4)     All documents and things that relate in any way to the claims and/or defenses

asserted by the parties to this action.
        (5)     All notes, transcripts or recordings of any type of any statements given by State

Farm (including any agents, employees or representatives of State Farm), any party to this

action, and any person or entity identified in your responses to the Interrogatories served

contemporaneously herewith.

        (6)     All documents and things that you intend to use as evidence or introduce as an

exhibit at any deposition or trial in this action.

        (7)     All correspondence, memoranda, writings, e-mails, statements or other written

documents or records that you sent to or received from State Farm (including its attorneys,

insurers, representatives, agents and employees) relating in any way to the claim(s) giving rise to

this action or to the events or circumstances described in the Complaint.

        (8)     All correspondence, memoranda, writings, e-mails, statements or other written

documents or records that you sent to or received from any person or entity identified or

disclosed in your Answers to Interrogatories relating in any way to the claim(s) giving rise to this

action or to the events or circumstances described in the Complaint.

        (9)     A complete copy of each and every settlement agreement, release, settlement

check and all other correspondence, documents and records pertaining to any compromise and/or

settlement of any claim (including all claims of personal injury and/or property damage) reached

between Plaintiff and any other person involved in the subject motor vehicle accident and/or that

person' s liability insurer.

        (10)    All documents and things reviewed by or relied upon by any expert witness(es)

(including treating doctors) whom you expect to use or call as a witness at any deposition,

hearing or trial in this action, and all reports prepared by each such expert.




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        (I 1)   Any and all contracts or agreements between the Plaintiff and any person or entity

identified in your answers to the Interrogatories served contemporaneously herewith, together

with any amendments or modifications to such contracts or agreements, relating in any way to (i)

the claim(s) giving rise to this action and/or the injuries or treatment alleged in the Complaint.

        (12)    All documents and things which set forth, document, discuss, calculate, evidence,

quantify, substantiate, or relate in any way to the damages, losses, injuries, fees and/or expenses

claimed by Plaintiff in this action.

        (13)    All documents and things which set forth, document, discuss, calculate, evidence,

quantify, substantiate or relate in any way to any past or future medical expenses for which

Plaintiff is seeking recovery in this lawsuit.

       (14)     A complete copy of all medical statements, bills and/or invoices which you claim

are covered, and/or for which you seek payment, under the subject State Farm insurance policy,

and which show the amounts "incurred" (as defined by Va. Code § 38.2-2201 (A)(3)) - including

all contractual adjustments, write-offs, and reductions to such bills - for all medical treatment

which you claim was a result of the subject motor vehicle accident.

       ( 15)    All documents and things, not already produced in response to the foregoing

Requests, which support or relate in any way to the allegations, demands and/or prayer for

damages contained in the Complaint.

       ( 16)    A complete copy of all insurance contracts I policies mentioned in the Complaint.

       (17)     A complete copy of all insurance contracts I policies which form the basis for the

claims alleged in the Complaint.




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                            STATE FARM MU UAL AUTOMOBILE INSURANCE CO.


                            By:    ~/s/~--~~~~~~~--~------------
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                                   Fax: (804) 644-1354
                                   E-mail: adewitt@freebom.com



                              CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of August, 2020, a true copy of the foregoing

REQUEST FOR PRODUCTION OF DOCUMENTS was delivered by e-mail and by first-class

U.S. mail, postage prepaid, to Bryn Swartz, Esq., Pathfinder Injury Law, 3016 Mountain Road,




                                          Alexander S. de Witt, Esq. (VSB # ' 708)




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